                                        ORIGINAL
 1   Stephen G. Larson(SBN 145225)
     slarson@larsonobraenlaw.com
      Melissa A. Meister(SBN 296744)
      mmeister(a~larsonobrienlaw.com                                A .f
 3   Jarrad L. Wood SBN 310688)                         ~; t At ~          ~    t. ,`.
     jwood larsono~rienlaw.com
 4   LARS~N O'BRIEN LLP
     555 S. Flower Street, Suite 4400
 5   Los Angeles, CA 90071
     Tel: 213-436-4888
 6   Fax: 213-623-2000
 7   Jesse L. Hoyer ~SBN 076934)
                                        ~`° ~~~ JPAID
     Jlhoyer(a~~ames oyer.com
 8   Elaine S~tromgren(SBN 417610)       ~~~ !~ ~l
     estromgren ameshoyer.com
 9   Sean P. Kee e(SBN 413828)              ,~s~,~~
     skeefe ameshoye~.com                   ~~T4e+~
10   JAME~HOYER,P,A.
     2801 W. Busch Blvd. Suite 200
11   Tampa,FL 33618
     Tel.: 813-375-3700
12   Fax: 813-375-3710
     Pro Hac Vice to befiled
13
     Attorneys for Relator
14   JEANNETTE MUNKITTRICK
15

16                     UNITED STATES DISTRICT COURT

17        CENTRAL DISTRICT OF CALIFORNIA -WESTERN DIVISION

18   L7NITED STATES OF AMERICA ex            Case Nc~` V ~ l ~ O s? ~ '~ ~ -S            fir-, ,\
     rel. JEANNETTE MUNKITTRICK,                                           ~~            r~w~
19
                                             COMPLAINT FOR FEDERAL
                        Plaintiff,
20                                           FALSE CLAIMS ACT
     v.
                                             VIOLATIONS
21
     CAMBRIDGE HEALTHCARE                    FILED IN CAMERA and UNDER
22   SERVICES,LLC d/b/a CAMBRIDGE
     HEALTHCARE MANAGEMENT                   SEAL PURSUANT TO 31 U.S.C.
23   SERVICES,LLC; THE ARBA GROUP;           § 3730(b)(2)
     ANAHEIM CREST NURSING
24   CENTER,LLC; BRIARCREST
     NURSING CENTER,LLC;                     DEMAND FOR JURY TRIAL
25   BROADWAY HEALTHCARE
     CENTER,LLC; BUENA VISTA CARE
26   CENTER,LLC; CAPISTRANO BEACH
     CARE CENTER,LLC; CASITAS                Complaint Filed: November 14, 2017
27   CARE CENTER,LLC; COMMUNITY
     CARE CENTER,LLC; COUNTRY
28   MANOR LA MESA HEALTHCARE
    CENTER,LLC; GLENDALE
    HEALTHCARE CENTER,LLC;
    HARBOR VILLA CARE CENTER,
    LLC; HIGHLAND CARE CENTER OF
    REDLANDS,LLC; HUNTINGTON
    DRIVE HEALTH AND
    REHABILITATION CENTER,LLC;
    LA SIERRA CARE CENTER,LLC;
    LAGUNA HILLS HEALTH AND
    REHABILITATION CENTER,LLC;
    LASSEN NURSING &
    REHABILITATION CENTER,LLC;
    LYNWOOD HEALTHCARE CENTER,
    LLC; MADERA REHABILITATION &
    NURSING CENTER,LLC; MAPLE
    HEALTHCARE CENTER,LLC;
    MERGED BEHAVIORAL CENTER,
    LLC; MERGED NURSING &
10 REHABILITATION CENTER,LLC;
    MODESTO POST ACUTE CENTER,
1 1 LLC; MONROVIA GARDENS
    HEALTHCARE CENTER,LLC;
12 MONTE VISTA HEALTHCARE
    CENTER,LLC; MOUNTAIN VIEW
13 CONVALSCENT HOSPITAL,LLC;
    MURRIETA HEALTH AND
14 REHABILITATION CENTER,LLC;
    ONTARIO HEALTHCARE CENTER,
15 LLC;PROFESSIONAL POST ACUTE
    CENTER,LLC; ~UINCY NURSING &
16 REHABILITATI N CENTER,LLC;
    RANCHO MIRAGE HEALTH AND
17 REHABILITATION CENTER,LLC;
    RINALDI CONVALESCENT
18 HOSPITAL,LLC; RIVERSIDE
    HEALTHCARE CENTER,LLC; SEAL
19 BEACH HEALTH AND
    REHABILITATION CENTER,LLC;
20 SUNRAY HEALTHCARE CENTER,
    LLC; UNIVERSITY PARK
21 HEALTHCARE CENTER,LLC;
    VALLEY PALMS CONVALESCENT
22 CENTER,LLC; WATSONVILLE
    NURSING CENTER,LLC;
23 WATSONVILLE POST ACUTE
    CENTER,LLC; WEST COVINA
24 HEALTHCARE CENTER LLC;
    DOUGLAS EASTON; anc~ RICHARD
25 DENNING,

26              Defendants.
27

28

                                                                         COMPLAINT

                   FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
           This is an action brought by Plaintiff and Qui Tam Relator Jeannette
     Munkittrick ("Relator") on behalf ofthe United States of America pursuant to the
     Federal False Claims Act, 31 U.S.C. §§ 3729-3733("FCA"). In support thereof,
     Relator alleges the following:
                                                   I.
C                                      INTRODUCTION
 7         1.    Beginning in at least 2015 and continuing through the present,
 8 Defendants Cambridge Healthcare Services, LLC d/b/a Cambridge Healthcare
9 Management Services, LLC("CHMS"), a large nursing home operator; The Arba
10 Group ("Arba"), a privately-held property ownership group; 38 California-based
11   Skilled Nursing Facilities("SNFs")(Anaheim Crest Nursing Center, LLC;
12 Briarcrest Nursing Center, LLC; Broadway Healthcare Center, LLC; Buena Vista
13 Care Center, LLC; Casitas Care Center, LLC; Community Care Center, LLC;
14 Country Manor La Mesa Healthcare Center, LLC; Glendale Healthcare Center,
15 LLC; Harbor Villa Care Center, LLC; Highland Care Center of Redlands, LLC;
16 Huntington Drive Health and Rehabilitation Center, LLC; La Sierra Care Center,
17 LLC; Laguna Hills Health and Rehabilitation Center, LLC; Lassen Nursing &
18 Rehabilitation Center, LLC; Lynwood Healthcare Center, LLC; Madera
19 Rehabilitation &Nursing Center, LLC; Maple Healthcare Center, LLC; Merced
20 Behavioral Center, LLC; Merced Nursing &Rehabilitation Center, LLC; Modesto
21 Post Acute Center, LLC; Monrovia Gardens Healthcare Center, LLC; Monte Vista
22 Healthcare Center, LLC; Mountain View Convalescent Hospital, LLC; Murrieta
23 Health and Rehabilitation Center, LLC; Ontario Healthcare Center, LLC;
24 Professional Post Acute Center, LLC; Quincy Nursing &Rehabilitation Center,
25 LLC; Rancho Mirage Health and Rehabilitation Center, LLC; Rinaldi Convalescent
26 Hospital, LLC; Riverside Healthcare Center, LLC; Seal Beach Health and
27 Rehabilitation Center, LLC; Sunray Healthcare Center, LLC; University Park
28 Healthcare Center, LLC; Valley Palms Convalescent Center, LLC; Watsonville
                                          3

                            F1LED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
 1       Nursing Center, LLC; Watsonville Post Acute Center, LLC; and West Covina
 2 Healthcare Center, LLC); Douglas Easton ("Easton"), an individual, and Richard

 3 Denning ("Denning"), an individual (all ofthe above referred to collectively as

 4 "Defendants") engaged in an intentional and fraudulent scheme to defraud the

 5 ~ United States by submitting statements and claims for payment to the Medicare

 6       program which contained improperly inflated Resource Utilization Group("RUG")
 7       levels and false representations regarding care being provided to patients at
 8 facilities owned and/or operated by Defendants.

 9             2.     Medicare pays SNFs a daily rate to provide skilled nursing and skilled
10 rehabilitation therapy services to qualifying Medicare patients (or "Beneficiaries").

11       The daily rate Medicare pays a SNF depends heavily on the rehabilitation needs of
12 the Beneficiaries. The highest daily rate Medicare will pay a SNF is reserved for

13 those Beneficiaries that require "Ultra High" levels of skilled nursing rehabilitation

14 therapy, or a minimum of 720 minutes per week of skilled therapy from at least two

15       therapy disciplines (e.g., physical, occupational, speech). The next highest daily
16 rate Medicare will pay to a SNF is reserved for Beneficiaries that require "Very

17 High" levels of skilled rehabilitation therapy, or a minimum of 500 minutes per

18       week of skilled therapy. The Ultra High and Very High therapy levels are intended
19 ~ for the most clinically complex patients who require rehabilitative therapy well
20       beyond the average amount of service time.
21             3.     As detailed herein, Defendants have engaged in a fraudulent and
22 systematic scheme to maximize the number of days they bill to Medicare at the

23       Ultra High and Very High levels. Defendants accomplish this by abusing modalities
24 that are completely unrelated to the Beneficiaries' actual conditions, diagnoses, or

25       needs. Instead of providing skilled rehabilitation therapy that is tailored to the
26 Beneficiaries' particular needs, Defendants' therapist routinely provide generic,

27 non-individualized services that do not—and could not—benefit the Beneficiaries .

28
     ~                                                    4
                                                                                              COMPLAINT

                                 FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
 1   and that are provided solely to inflate Defendants' bills to Medicare for those
 2 1 Beneficiaries.
 3         4.     The FCA provides that any person who knowingly submits or causes
 4 to be submitted to the United States of America (also referred to herein as the

 5 "Government") a false or fraudulent claim for payment or approval is liable for a

 6   civil penalty of $5,000 to $11,000 for each such claim submitted on or before
 7 November 2, 2015, and $10,781 to $21,563 for each such claim submitted after

 8   November 2, 2015, and three times the amount ofthe damages sustained by the
 ~~ Government. The FCA permits persons having information regarding a false or
10 fraudulent claim against the Government to bring an action on behalf ofthe

11   Government, and to share in any recovery. The complaint must be filed under seal
12   without service on the defendants. The complaint remains under seal while the
13   Government conducts an investigation of the complaint's allegations and
14   determines whether to intervene in the action.
15         5.     Pursuant to the FCA,Relator seeks to recover on behalf ofthe United
16 States damages and civil penalties arising from Defendants' knowing submission of

17 false and fraudulent claims and certifications to the Government.

18                                                  II.

19                             JURISDICTION AND VENUE
20         6.     This action arises under the False Claims Act, 31 U.S.C. §§ 3729-
21   3733. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331
22 and 1345 and 31 U.S.C. § 3732(a), which specifically confers jurisdiction on this

23   Court for actions brought under the FCA.
24         7.     This Court has personal jurisdiction over Defendants pursuant to
25   31 U.S.C. § 3732(a), which authorizes nationwide service of process because at
26   least one ofthe Defendants can be found in, resides in, transacts business in, and/or
27   has committed the alleged acts in the Central District of California.
28
                                                      5
                                                                                       COMPLAINT

                             FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
 1         8.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)-(c)
 2 and 31 U.S.C. § 3732(a) because at least one ofthe Defendants can be found in,
 3 resides in, and/or transacts business in the Central District of California, and many
 4 ofthe alleged acts occurred in this District.
 5         9.     Relator is an original source as defined by the False Claims Act in 31
 6 U.S.C. § 3730(e)(4)(B). Relator knows of no other FCA complaints that have been
 7 filed against Defendants alleging the same or similar facts. Additionally, Relator
 8 learned of the conduct underlying these allegations through her personal experience
 ~~ and in her capacity as an employee of Defendant CHMS. Relator made voluntary
10 disclosures to the United States prior to the filing of this lawsuit.
11                                                  III.
12                                             PARTIES
13         10.    Relator Jeannette Munkittrick is a resident of Glenwood Springs,
14 Colorado. She has worked in Medicare claims compliance for more than 20 years.
15 Relator has been employed with Defendant CHMS as a compliance auditor since
16 September 2014. Relator brings this action on behalf ofthe real party in interest, the
17 United States (also referred to herein as the "Government") pursuant to 31 U.S.C. §
18 3730(b).
19         1 1.   Defendant Cambridge Healthcare Services, LLC d/b/a Cambridge
20 Healthcare Management Services, LLC("CHMS")is located at 6722 Orangethorpe
21   Avenue,#300, Buena Park, California 90620. CHMS is a privately-held company
22 that currently manages 38 SNFs throughout California.
23         12.    Defendant Arba is located at 6380 Wilshire Boulevard, Los Angeles,
24 California 90048. Arba is a privately-held property ownership group. It owns
25 several ofthe Defendant facilities named in this Complaint.
26         13.    The Defendant SNFs are:
27                a.    Defendant Anaheim Crest Nursing Center, LLC, a SNF located
28         at 3067 Orange Avenue, Anaheim, California 92804.
                                           6
                                                                                     CK~lu1~~1►Y1

                             FILED iJNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
 1         b.    Defendant Briarcrest Nursing Center, LLC,a SNF located at
 2   5648 Gotham Street, Bell Gardens, California 90201.
 3         c.    Defendant Broadway Healthcare Center, LLC, a SNF located at
 4   112 East Broadway, San Gabriel, California 91776.
 5         d.    Defendant Buena Vista Care Center, LLC, a SNF located at
6    1440 South Euclid Street, Anaheim, California 92802.
 7         e.    Defendant Capistrano Beach Care Center, LLC,a SNF located
 8   at 35410 Del Ray, Capistrano Beach, California 92624.
 9         £     Defendant Casitas Care Center, LLC,a SNF located at 10626
10   Balboa Boulevard, Granada Hills, California 91344.
11         g.    Defendant Community Care Center, LLC, a SNF located at
12   2335 Mountain Avenue, Duarte, California 91010.
13         h.    Defendant Country Manor La Mesa Healthcare Center, LLC,a
14   SNF located at 5969 Lake Murray Boulevard, La Mesa, California 91942.
15         i.    Defendant Glendale Healthcare Center, LLC,a SNF located at
16   1208 South Central Avenue, Glendale, California 91204.
17        j.     Defendant Harbor Villa Healthcare Center, LLC, a SNF located
18   at 861 South Harbor Boulevard, Anaheim, California 92805.
19         k.    Defendant Highland Care Center of Redlands, LLC,a SNF
20   located at 700 East Highland Avenue, Redlands, California 92374.
21         1.    Defendant Huntington Drive Health and Rehabilitation Center,
22   LLC,a SNF located at 400 West Huntington Drive, Arcadia, California
23   91007.
24         m.    Defendant La Sierra Care Center, LLC, a SNF located at 2424
25   M Street, Merced, California 95340.
26         n.    Defendant Laguna Hills Health and Rehabilitation Center, LLC,

27   a SNF located at 24452 Health Center Drive, Laguna Hills, California 92653.
28
                                              7
                                                                           COMPLAINT

                     FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
 1         o.    Defendant Lassen Nursing &Rehabilitation Center, a SNF
2    located at 2005 River Street, Susanville, California 96130.
3          p.    Defendant Lynwood Healthcare Center, LLC,a SNF located at
4    3611 East Imperial Highway, Lynwood, California 90262.
5          q.    Defendant Madera Rehabilitation &Nursing Center, LLC,a
6    SNF located at 517 S. A Street, Madera, California 93638.
7          r.    Defendant Maple Healthcare Center, LLC,a SNF located at
8    2625 South Maple Avenue, Los Angeles, California 90011.
9          s.    Defendant Merced Behavioral Center, LLC,a SNF located at
10   1255 B Street, Merced, California 95340.
11         t.    Defendant Merced Nursing &Rehabilitation Center, LLC,a
12   SNF located at 510 West 26th Street, Merced, CA.
13         u.    Defendant Modesto Post Acute Center, LLC,a SNF located at

14   159 East Orangeburg Avenue, Modesto, California 95350.
15         v.    Defendant Monrovia Gardens Healthcare Center, LLC,a SNF

16   located at 615 West Duarte Road, Monrovia, California 91016.
17         w.    Defendant Monte Vista Healthcare Center, LLC,a SNF located

18   at 802 Buena Vista Street, Duarte, California 91010.
19         x.    Defendant Mountain View Convalescent Center, LLC,a SNF

20   located at 13333 Fenton Avenue, Sylmar, California 91342.
21         y.    Defendant Murrieta Health and Rehabilitation Center, LLC, a

22   SNF located at 24100 Monroe Avenue, Murrieta, California 92562.
23         z.    Defendant Ontario Healthcare Center, LLC,a SNF located at

24   1661 South Euclid Avenue, Ontario, California 91762.
25         aa.   Defendant Professional Post Acute Center, LLC,a SNF located

26   at 81 Professional Center Parkway, San Rafael, California 94903.
27         bb.   Defendant Quincy Nursing &Rehabilitation Center, LLC,a

28   SNF located at 50 East Central Avenue, Quincy, California 95971.
                                       8
                                                                            COMPLAINT

                      F1LED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
 1               cc.   Defendant Rancho Mirage Health and Rehabilitation Center,
 2         LLC, a SNF located at 39950 Vista Del Sol, Rancho Mirage, California
 3         92270.
4                dd.   Defendant Rinaldi Convalescent Center, LLC,a SNF located at
 5         16553 Rinaldi Street, Grenada Hills, California 91344.
6                ee.   Defendant Riverside Healthcare Center, LLC,a SNF located at
 7         4580 Palm Avenue, Riverside, California 92501.
 8               ff.   Defendant Seal Beach Health and Rehabilitation Center, LLC, a
9          SNF located at 3000 North Gate Road, Seal Beach, California 90740.
10               gg.   Defendant Sunray Healthcare Center, LLC,a SNF located at
11         3210 West Pico Boulevard, Los Angeles, California 90019.
12               hh.   Defendant University Park Healthcare Center, LLC,a SNF
13         located at 230 East Adams Boulevard, Los Angeles, California 90011.
14               ii.   Defendant Valley Palms Convalescent Hospital, LLC, a SNF
15         13400 Sherman Way, North Hollywood, California 91605.
16               jj.   Defendant Watsonville Nursing Center, LLC, a SNF located at
17         535 Auto Center Drive, Watsonville, California 95076.
18               kk.   Defendant Watsonville Post Acute Center, LLC,a SNF located
19         at 525 Auto Center Drive, Watsonville, California 95076.
20               11.   Defendant West Covina Healthcare Center, LLC,a SNF located
21         at 850 South Sunkist Avenue, West Covina, California 91790.
22         14.   Defendant Douglas Easton, an individual, was the Chief Executive
23   Officer of Defendant CHMS.Easton is listed as an "indirect owner" of Defendants
24   Casitas Care Center, LLC, Ontario Healthcare Center, LLC,and Rinaldi
25   Convalescent Center, LLC.
26         15.   Defendant Richard Denning, an individual, is the Chief Executive
27   Officer of Defendant CHMS. Denning replaced Easton as the Chief Executive
28   Officer of Defendant CHMS on or about February 2017.
                                                   9
                                                                                  COMPLAINT

                           FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
                                                       IV.
 2                                  REGULATORY OVERVIEW
 3       A,    The False Claims Act
 4             16.    The FCA,as amended by the Fraud Enforcement and Recovery Act of
 5 2009, Pub. L. No. 111-21' provides, in relevant part:

 6                   Liability for Cert Acts. (1) In General—Subject to
                      paragraph(2), any person who—(a)knowingly presents, or
 7                   causes to be presented a false or fraudulent claim for
                      payment or approval;(B knowingly makes,uses, or causes
 8                   to be made or used, a fa se record or statement material to
                     a false or fraudulent claim; or (C) conspires to commit a
 9                    violation of(A)or(B)... is liable to the United States for
                     a civil penalty of not less than [$5,500] and not more than
10                   [$11,000]      .plus three times the amofh of dafges
                      which the Government sustains because o t e act that
11                   person.

12             31 U.S.C. § 3729(a)(1).

13                    Actions by Private Persons. (1) A person may bring a
                      civil action for a violation of section 3729 for the person
14                    and for the United States Government. The action shall be
                      brought in the name ofthe Government.
15

16             31 U.S.C. § 3730(b)(1).
17             17.    Relator seeks to recover damages and civil penalties in the name of the
18       United States arising from the false statements and fraudulent claims for payment
19 made by Defendants to the Medicare program.
20 B.          The Medicare Program
21             18.    The federal Medicare program was established by Congress in 1965
22 and provides health insurance to persons over the age of65 and people with certain

23       disabilities or afflictions. See 42 U.S.C. §§ 426, 13950.
24             19.    The Medicare program is divided into four "parts" that cover different
25       services. Medicare Part A generally covers inpatient hospital services, home health
26

27       1 The FCA was further amended on March 23, 2010 by the Patient
   Protection and Affordable Care Act("PPACA"),Pub. L. 111-148 Stat. 199.
28 PPACA did not impact the portion ot~ the FCA quoted here.
     ~                                                   10
                                                                                       COMPLAINT

                                 FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
 1   and hospice care, and skilled nursing and rehabilitation care, including care
 2 provided at SNFs. 42 U.S.C. § 1395c.

 3         20.    Medicare Part A covers only those services that are "reasonable and
 4   necessary." 42 U.S.C. at § 1395y(a)(1)(A); see 42 U.S.C. § 1320c-5(a)(1)(stating
 5   that providers must assure that they provide services economically and only to the
 6 extent they are medically necessary); 42 U.S.C. § 1320c-5(a)(2)(providing that

 7 Medicare services must be of a quality which meetings professionally-recognized

 8   standards of care).
 9         21.    Under the authority of the Social Security Act, the Secretary of HHS
10 administers the Medicare Program through Centers of Medicare and Medicaid

11   Services("CMS"). CMS contracts with private insurance companies to administer
12 the processing of claims.

13         22.    Before a hospital or clinic may submit claims for reimbursement, it
14   must obtain a provider number. 42 U.S.C. § 1320d-2(b); 45 C.F.R. § 162.410.
15   Once it has a provider number, the provider may submit claims for covered
16   services. 42 C.F.R. § 424.505. In doing so, Medicare providers must certify their
17   understanding that payment of claims are conditioned on the claim and the
18   underlying transaction complying with applicable laws, regulations and program
19 instructions, including that the claim was for services that were reasonable and

20   necessary for the Beneficiary.
21   C.    The Medicare Program's Coverage of SNF Rehabilitation Therapy
22         23.    Subject to certain conditions, Medicare Part A covers up to 100 days
23   of skilled nursing and rehabilitation care for a benefit period (i.e., spell of illness)
24 following a qualifying hospital stay of at least three consecutive days. 42 U.S.C.

25   § 1395d(a)(2)(A); 42 C.F.R. §§ 409.61(b),(c).
26         24.    The conditions that Medicare imposes on its Part A SNF benefits
27 include:(1)the patient requires skilled nursing care or skilled rehabilitation services

28 (or both) on a daily basis;(2)the daily skilled nursing services must be services
                                              11
                                                                                         COMPLAINT

                              FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
      that, as a practical matter, can only be provided in a SNF on an inpatient basis; and
 2 (3)the services are provided to address a condition for which the patient received

 3    treatment during a qualifying hospital stay or that arose while the patient was
 4 receiving care in a SNF (for a condition treated during the hospital stay). 42 U.S.C.

 5 1 § 1395f(a)(2)(B); 42 C.F.R. § 409.31(b).

 C~         25.    Medicare requires that a physician or other qualified practitioner
      certify that these conditions are met at the time of a patient's admission to the SNF
 8    and to re-certify to the patient's continued need for skilled rehabilitation therapy
 ., services at regular intervals thereafter. See 42 U.S.C. § 1395f(a)(2)(B); Medicare
 ~~

10    General Information, Eligibility, and Entitlement Manual § 40.3 (2002), available
11    at https://www.cros.gov/Regulations-and- Guidance/Guidance/Manuals/
12    downloads/ge 101 c04.pdf.
13          26.    To be considered a "skilled" service, it must be "so inherently complex
14 that it can be safely and effectively performed only by, or under the supervision of,

15    professional or technical personnel." 42 C.F.R. § 409.32(a). Professional or
~~ technical personnel include physical therapists, occupational therapists, and speech
17 pathologists. See 42 C.F.R. § 409.31(a).

18          27.    Skilled rehabilitation therapy generally does not include personal care
19 services, such as the general supervision of exercises that have already been taught

20 to a patient or the performance of repetitious exercises (e.g., exercises to improve

21    gait, maintain strength or endurance, or assistive walking). See 42 C.F.R.
22 § 409.33(d). Many SNF Beneficiaries "do not require skilled physical therapy

23    services but do require services, which are routine in nature. Those services can be
24    performed by supportive personnel; e.g., aides or nursing personnel ...." Medicare
25    Benefit Policy Manual, § 30.4.1.1 (2014), available at https://www.cros.gov/
26 Regulations-and-Guidance/Guidance/Manuals/downloads/bp 102c08.pdf.

27          28.    Because Medicare Part A will only reimburse SNFs for services that
28    are "reasonable and necessary," the services provided by the SNF must be
                                                      12
                                                                                        COMPLAINT

                              FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
 1        consistent with the nature and severity of the patient's individual illness, injury, or
 2 particular medical needs; must be consistent with accepted standards of medical

 3        practice; and must be reasonable in terms of duration and quantity. See Medicare
 4 Benefit Policy Manual, § 30(2014), available at https://www.cros.gov/

 5 Regulations-and-Guidance/Guidance/Manuals/downloads/bp 102c08.pdf.

6               29.    In order to assess the reasonableness and necessity of those services
 7 and whether reimbursement is appropriate, Medicare requires proper and complete

 8        documentation of the services rendered to Beneficiaries. In particular, the Medicare
 9 statute provides that:

10                     No payment shall be made to any provider of services or
                       other person under this part unless there has been furnished
11                     such information as maybe necessary in order to determine
                       the amounts due such provider or other person under this
12                     part for the period with respect to which the amount are
                       being paid or for any prior period
13
                42 U.S.C. § 13951(e)
14

15        D.    Medicare Payment for Skilled Nursing Rehabilitation Therapy
16              30.    The Balanced Budget Act of 1997 changed SNF reimbursement for
17        patients covered under Medicare Part A to a prospective payment system ("PPS"),
18        beginning with the first cost reporting period on or after July 1, 1998. Under PPS,
19 SNFs are paid a fixed per diem amount for each Medicare Part A Beneficiary,
20        which covers the routine, ancillary, and capital-related costs associated with that
21        patient's stay, including non-physician services. See 63 Fed. Reg. 26, 252, 26, 259-
22 60(May 12, 1998). The SNF is responsible for paying for virtually all patient care

23        services, including physical and occupational therapy services, out of this Part A
24        per diem payment. This relationship is known as "billing under arrangement" and
25        requires a contractual agreement between the nursing home and its non-physician
26        suppliers or providers. 42 C.F.R. §482.75(h)(2). Medicare payments are typically
27        made directly to SNFs rather than to Beneficiaries.
28
     ',                                                    13
                                                                                             COMPLAINT

                                   FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
1          31. The daily PPS rate that Medicare pays a SNF depends on the Resource
2 Utilization Group("RUG")to which a patient is assigned. Each distinct RUG is

3 intended to reflect the anticipated costs associated with providing nursing and

4 rehabilitation services to Beneficiaries with similar characteristics or resource

5    needs. See 42 C.F.R. §§ 413.330, 413.337.
6          32.   There are five general rehabilitation RUG levels for those
7 Beneficiaries that require rehabilitation therapy: Rehab Ultra High ("RU"), Rehab

8 i Very High ("RV"), Rehab High ("RH"), Rehab Medium("RM")and Rehab Low
     ~
9     «~»~.

10         33.   The rehabilitation RUG level to which a patient is assigned depends
11 upon the number of skilled therapy minutes a patient received as well as the number
12 of therapy disciplines the patient received during aseven-day assessment period

13 known as the "look-back period." The chart below reflects the requirements for
                                                                                   the

14 five general rehabilitation RUG levels:

15

16    Rehabilitation     Requirements to Attain RUG Level

17    RUG Level
18    RU                 Minimum 720 minutes per week total therapy combined from

19                       at least two therapy disciplines; one therapy discipline must

20                       be provided at least five days per week

21    RV                 Minimum 500 minutes per week total therapy; one therapy

22                       discipline must be provided at least five days per week

23    RH                 Minimum 325 minutes per week total therapy; one therapy
24                       discipline must be provided at least five days per week
25    RM                  Minimum 150 minutes per week total therapy; must be
26                        provided at least five days per week but can be any mix of
27                       therapy disciplines
28
                                                    14

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1

2    RL                   ~ Minimum 45 minutes per week total therapy; must be

3                           provided at least three days per week but can be any mix of

4                          therapy disciplines
                                                                             the RU
5          34. Medicare pays the most for those Beneficiaries that fall into

6 level. The RU level is "intended
                                    to apply only to the most complex cases requiring

7 rehabilitative therapy well abov
                                   e the average amount of service time." 63 Fed. Reg.

g ! I~ 26, 252, 26, 258(May 12, 1998
                                     ).
                                                                            of specific
9          35.      A nursing facility must determine each patient's RUG as
                                                                            then
10 "assessme     nt reference dates"("ARDs"}, and the RUG as of the ARD
                                                        ely for a specific timeframe.
11   determines the daily reimbursement rate prospectiv
                                                            is as follows:
12   According to CMS,the Medicare assessment schedule

13
                              ARD Window                 Grace Days                  Medicare Payment
14    RUG Assessment
                                                                                     Days Determined
15    Type
                                                                                     by RUG
16
                              Days 1-5                   Days 6-8                    Days 1-14
17    5 day
                              Days 13-14                 Days 15-18                  Days 15-30
18    14 day
                              Days 27-29                  Days 30-33                 Days 31-60
19    30 day
                              Days 57-59                  Days 60-63                 Days 61-90
20    60 day
                              Days 87-89                  Days 90-93                 Days 91-100
21    90 day
22
                                                                   the grace days.
23            The "assessment window" equals the ARD window plus
                                                               assessment reference
24            36. SNFs report therapy treatment times for each
                                                       is completed as of each ARD in
25 period on a Minimum Data Set("MDS")form that
26 a patient's stay. 42 C.F.R. § 413.
                                      343. SNFs transmit this data directly to CMS.

27 42 C.F.R. § 483.200(3). Comp
                                   letion ofthe MDS is a prerequisite to payment

28 under Medicare. See Medicare
                                   Program; Prospective Payment System and
                                                       15
                                                                                                   COMPLAINT

                                                                        3730(B)(2)
                               FILED UNDER SEAL PURSUANT TO 31 U.S.C. §
 1   Consolidated Billing for Skilled Nursing Facilities, 63 FR 26265-69(May 12,
2    1998).
3          37.   The MDS form requires a certification by the provider stating, in part:
4 "To the best of my knowledge, this information was collected in accordance with

5    applicable Medicare and Medicaid requirements. I understand that this information
6 is used as a basis for ensuring that residents receive appropriate and quality care,
7 and as a basis for payment from federal funds." See, e.g., Long-Term Care Facility

8 Resident Assessment Instrument 3.0 User's Manual, Centers for Medicare &

~~ Medicaid Services(Nov. 13, 2017, 4:45 PM), https://www.cros.gov/Medicare/
10 Quality-Initiatives-Patient-Assessment-Instruments/NursingHomeQualityInits/

11   Downloads/MDS-30-RAI-Manual-V 113.pdf.
12                                                  V.

13                              FACTUAL ALLEGATIONS
14   A.    Defendants' Scheme to Defraud Medicare
15         38.   From at least 2015 and continuing through the present, Defendants
16   have focused on maximizing their profits by systematically billing Medicare for
17 artificially-inflated RUG rates. Defendants prioritize their maximization of earning

18   potential over compliance with Medicare regulations and with disregard for patient
19 needs.

20               1.     Relator's Knowledge ofthe Fraud
21         39.   Relator began her employment as a compliance auditor with Defendant
22 CHMS in September 2014. She conducts quarterly compliance audits at a1138

23   skilled nursing facilities named as Defendants in this Complaint. Therefore, Relator
24   has original, first-hand knowledge of all improper practices alleged herein.
25               2.     Defendants Submit Medicare Claims Using Artificially
26                      Inffated R UG Rates
27         40.    Because Medicare pays significantly more money for RU and RV
28 Beneficiaries than for Beneficiaries at lower RUG levels, Defendants push their
                                              16

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     facilities and therapists to get as many of their Medicare Beneficiaries into the RU
2    and RV RUG levels as possible. Defendants accomplish this by pressuring
3    therapists to abuse electric stimulation ("e-stim") and diathermy modalities, and to
4    report incorrectly the minutes attributable to their application. As detailed herein,
5    the minutes for the e-stim and diathermy modalities are reported in a manner
6    inconsistent with normal treatment patterns, and appear to spike during lookback
7    periods. The treatments are not usually provided to non-Medicare patients.
8                        a.    Defendants Use Unnecessary Modalities in Order to

9                              Increase the Number of Therapy Minutes Billed to

10                             Medicare

11         41.    "Modalities" generally describe treatments such as heat, cold, and
12 electrical stimulation that are used to produce a tissue response to help reduce pain

13 and inflammation, or to strengthen, relax, or heal muscles. Modalities are typically
14 used as an adjunct to active therapy to decrease impairments and improve function.

15 Many modalities do not require the skills of a qualified therapist unless there is a

16   particular complication with the patient.
17         42.    E-Stim and diathermy are two modalities being abused by Defendants
18 in order to increase the number of minutes oftherapy recorded for Medicare
19 patients. E-stim refers to the practice of attaching electrodes on a patient's skin in

20 order to apply electrical stimulation to targeted muscle groups. It is generally used

21 to treat muscle spasms and pain. Diathermy is a treatment that uses a high-
22 frequency electric current to stimulate heat generation within body tissues. It
                                                                                   is

23   most commonly used for muscle and joint conditions.
24          43.   Both e-stim and diathermy can be proper therapy options for patients
25 in SNFs under certain circumstances. However, because these modalities typically
26 do not require the skills of an occupational therapist for application, when they
                                                                                     are

27 utilized in a SNF, it is only appropriate to use them for particular diagnose
                                                                                 s;

28   specifically, for diagnoses for which there is evidence suggesting they are
                                                       17
                                                                                       COMPLAINT

                              FILED TINDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
     beneficial treatment methods that can potentially help further patient outcome
2 goals, or for patients whose conditions are complicated by other factors and who

3    require the judgment of a qualified therapist even for application ofnon-skilled
4 therapies.

5          44.    Relator recognizes it is possible to use e-stim and diathermy
6    appropriately in SNFs; specifically, in the limited situations described above.
7 However, based on what she has observed during her employment with Defendant

8    CHMS,it is clear that Defendants are not using these modalities to help patients,
9 and are instead abusing these modalities in order to bill Medicare improperly.
10         45.    On or about 2015, Relator began to observe a distinct pattern that
11   showed inordinate levels of RU and RV qualifications for Medicare patients at all
12 of the Defendant SNFs. The minutes being reported to qualify patients for the RU

13   and RV levels were exactly at, or slightly higher than, the minimum requirements
14 for those RUG levels. The above-described practice of delivering therapy on or as

15   close to the minimum amount of minutes necessary to meet a particular RUG level
16   is colloquially referred to as "hugging the RUG."
17         46.    Defendants regularly "hug the RUG" by using e-stim and diathermy in
18   order to record the minutes necessary to qualify Medicare Beneficiaries improperly
19 for RU and RV status. For example, if a Medicare patient is 50 minutes shy of

20   qualifying for the RU or RV RUG level during a lookback period, Defendants'
21   therapists will introduce the utilization of either e-stim or diathermy to make up the
22 50 minutes needed, regardless of whether that modality is beneficial to the patient.

23 Defendants' therapists often employ this tactic with Beneficiaries who cannot

24 tolerate actual skilled therapy for the full amount oftime necessary to qualify for

25   the higher RUG levels.
26         47.    Defendants' therapists know that they are under pressure to qualify as
27   many Medicare patients as possible for RU and RV levels, so they often include e-
28 ~ stim and diathermy in the patients' Plans of Care just in case they need to abuse          ~
                                               18
                                                                                        COMPLAINT

                              FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
1    those modalities in order to reach the RU and RV RUG levels. E-stim and
2 diathermy are included in the Plans of Care of Beneficiaries at Defendants' SNFs

3    regardless of whether those modalities will provide any actual benefit for the
4 patients.

5          48.    In addition to providing medically unnecessary e-stim and diathermy
6 therapy in general, Defendants also use these modalities to inflate the number of

7 therapy minutes reported on MDS assessments by including non-supervised and

8    non-skilled minutes in the calculations. Instead of including only minutes spent
 9 under direct supervision of a skilled therapist, Defendants improperly bill Medicare
10 for time that should not be included in the total calculation of therapy time. For

11   example, if e-stim is used on apatient—whether properly or improperly—
12 Defendants' therapists routinely bill for the time it takes to attach the electrodes,

13   and then continue to bill for the entire time the electrodes are attached, even though
14 the therapists generally leave the patients alone while the e-stim treatment occurs.

15   Defendants' therapists also improperly include minutes that are spent on activities
16 that have nothing to do with skilled care, such as on tasks like cleaning patients'

17 skin for electrode attachment. It is Relator's assertion that, in general, billing for

18 any amount of time over approximately five minutes for treatment like e-stim or
19 diathermy is improper. Because Defendants abuse e-stim and diathermy in order to

20 "hug the RUG," the minutes billed for those modalities are usually much higher

21   than five minutes.
22         49.    "RUG hugging" using the diathermy modality is reflected in patient
23 records like the ones shown below. The following relevant excerpts are from the

24 file of a patient treated at Defendant Mountain View Convalescent Hospital, LLC.

25   The patient did not have a condition that required a skilled therapist for diathermy
26

27

28
                                                     19

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 1 treatment. The patient's Apri12015 CPTZ Log reflects the following use of
 2 diathermy for the 5-day scheduled assessment:

 3
!~
     Date           4/19            4/20              4/21                4/22          4/23
 5
      Minutes of                    30                30                  30            30
 6
      diathermy
 7

 8 The patient's corresponding MDS shows the amount of minutes for that lookback

 ~~ period totals 725, five minutes above the 720-minute standard necessary to qualify
10 a patient in the RU level for Medicare billing purposes.

11          50.    The next assessment period for the same patient referenced in
12 Paragraph 49 reflects the following use of diathermy for the remainder of April:

13

14   Date           4/24      4/25          4/26           4/27          4/28      4/29        4/30
15    Minutes of                            30             30            30        30          30
16   diathermy
17 Again, an excessive number of minutes being attributed to diathermy, with the

18   amount of minutes in the patient's corresponding MDS totaling 720—the exact
19 amount of minutes needed to keep that patient qualified as RU for Medicare billing

20   purposes.
21          51.    An example of"RUG hugging" using the e-stim modality can be seen
22 in the following excerpt from the file of a patient treated at Defendant Glendale

23 Healthcare Center, LLC. The patient did not have a condition that required a skilled

24 therapist for e-stim application. Regardless ofthat fact, the patient's Plan of Care

25

26

27
           2 "CPT" stands for Current Procedural Terminology("CPT")codes, which
28   are used to bill for skilled services under Medicare.
                                                     20
                                                                                                COMPLAINT

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1    included the use of e-stim and the patient's March 2016 CPT Log reflects the
2 following use of e-stim for the lookback period beginning on 3/9/16:

3                        3/3            3/4            3/5            3/6            3/7   3/8
     Date
4
      Minutes of e-
                                         15            15                                  15
5
      stim
6

7 As seen in the patient's correspondi
                                       ng MDS,the amount of minutes for that

8    lookback period coincidentally totals 500, which is the exact number of minutes
                                            to an RV level.
 9 necessary to bump the patient from an RH
10       52. The next lookback period (the 14-day assessment) for the same patient

1 1 ~ reflects the following use of e-stim:
12
      Date         3/9          3/10            3/11             3/12            3/13      3/14
13

14    Minutes      20           20               15              15

15    of e-stim

16 The total amount of minutes for that assessment period
                                                          totaled a little over 500 on

17 the corresponding KIDS, or, in other words,just enough
                                                          to keep the patient at an

18 RV level for the next round of Medicare submissions.

19           53.   Defendants routinely attempt to justify the excessive minutes billed for

20 e-stim and diathermy by using phrases such as "patient's
                                                            skin condition was

21   assessed prior to, during, and after e-stim treatment," "skin cleansed and hydrated

22 for electrode placement," "electrodes applied,
                                                  repositioned, removed," and

23 "infection control measures provided before and
                                                   after treatment" in the treatment

24 notes of Beneficiaries. However, none ofthese actions
                                                         require the skills of a

25   qualified therapist, and therefore they cannot be properly billed to Medicare as

26 therapy services. Despite this, Defendant SNFs
                                                  habitually bill Medicare for non-

27 therapy services in order to "hug the RUG."

28
                                                       21
                                                                                                  COMPLAINT

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          54.    As described above, Defendants knowingly submitted false claims to
2 the Medicare program for medically unreasonable, unnecessary and unskilled
3 therapy services, and used false records and statements to support those false claims

4 in order to receive reimbursement at the highest RUG levels.

5                       b.    Defendants Pressure their Employees to Inflate RUG

6                             Levels and Keep Facilities Full

7         55.    The pressure to inflate the RUG levels of Beneficiaries and keep the
8 beds full at the Defendant SNFs comes from the very top. For example, in an email
9 dated April 14, 2017, Michelle Gale-Nelson, a Registered Nurse for Defendant

10 CHMS,wrote to Relator:

11               A lot of things happening to stop the hemorrhages of cash
                   . . functional budgets, marketing plans, oversight of
12               insurance contracts, etc. Census and I~UG level pushes[.]
                 Rick [CEO Richard Denning]will be drilling the admins
13               [administrators] to find out if we are maximizing.

14         56.   Defendants' administrators are incentivized to maintain as many
15 patients in Defendants' facilities as possible, as well as to qualify their patients at
16 the highest RUG levels possible. Based on information and belief, Relator
17 understands and believes that Defendants' administrators are given bonuses
                                                                                    equal

18 to seven-and-a-half percent of Defendants' net income without respect to any other
19 standards. The implication to Defendants' administrators is clear—maximize
                                                                                and

20 inflate Medicare billings and maximize and inflate bonuses.

21         57.    It is common knowledge throughout Defendants' facilities that
22 Defendants' administrators are pressured and incentivized to maintain a
                                                                           certain

23 level of patients, and to ensure their patients are qualifying for the highest RUG
24 levels possible. In a September 9, 2014 email, Defendant CHMS'
                                                                         Director of

25 Rehabilitation Services, Lynn Schiff, wrote to Relator:

26
                  Where would you like to .go next Monday? Tuesday is
27                Monrovia[,] Friday is Murrieta[.] We have some options[,]
                  is there another facility Robin would like us to go to or we
28                could go to Seal Beach or Laguna since they've both had
                                                     22
                                                                                       COMPLAINT


                             FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
                  MDS minute issues and therapy documentation issues,
                  utilization is hi hand it will not hold u . . .The admins
2                 [administrators push the RU what's newt  [?]

3          58.    As recently as Apri128, 2017, Defendant CHMS' Chief Operating
4 Officer, Bryan Tanner, sent an email to all of Defendants' administrators to remind

5    them ofthe importance of keeping the beds full at all Defendant facilities. The
6 email reads, in part:

7                [I]t has become very clear that too many things affecting
                  census are `falling through the cracks.' To provide
8                 increased accountability on many levels, beginning next
                  Monday, May 1, every facility will start using `tools' that
9                 will become~ part of your binder. These are: 1. Alert Sheet,
                  2. Referral/Denial Report . . . I will be paying particular
10                attention to the] section about why you didn t admit the
                  patient. Again, we are looking for reasons to say "yes," not
11                 `no."
12        59. Defendants' administrators are also required to attend monthly PPS

13   meetings at all ofthe Defendant SNFs, even though those meetings are clinical in

14 nature. Defendants track whether
                                    their administrators attend the PPS meetings. The

15   other people in attendance at those meetings include the Directors of Nursing,

16   Rehabilitation, and Medical Records, as well as the Assistant Directors of Nursing.
                                              ibilities, attends the PPS meetin        gs at all
17 Relator, as part of her employment respons

18 of the Defendant SNFs.

19         60.   During the PPS meetings, Relator has personally observed Defendants'

20   administrators regularly ask the medical staff questions such as "why isn't this

21   patient an RU?" and "can we at least get them to RV?" Relator has personally

22   observed Defendants' administrators apply tremendous pressure to Defendants'

23 therapists to get patients into the RV
                                          and RU levels, and also to increase patients'

24 lengths of stay in order to maximi
                                      ze revenue from Medicare.

25          61.  These corporate pressures caused Defendants' therapists to provide

26   excessive amounts oftherapy that were and are not medically reasonable or
                                  are based in part on providing a specifi          c number of
27 necessary. Because the targets
                                Beneficiary, therapists often did not, and           do not,
28 therapy minutes per Medicare
                                          23
                                                                                           COMPLAINT

                              FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
 1   developed individualized plans of care for Medicare Beneficiaries. In addition,
 2 Defendants' pressure caused therapists to provide services that did not qualify as

 3   skilled rehabilitation therapy, such as e-stim and diathermy, simply to meet the
 4   minimum criteria to qualify patients for RU and RV RUG levels.
 5                3.    Defendants are Aware oftheir Fraudulent Behavior
 6         62.    Defendant Arba owns all 38 SNFs listed as Defendants in this
 7 Complaint. Defendant CHMS manages a1138 SNFs listed as Defendants in this

 8   Complaint. Defendant Easton was the CEO of Defendant CHMS until February
 9 2017. After Defendant Easton left the company, he was replaced by Defendant
10 Denning.

11         63.    During his time with Defendant CHMS,Defendant Easton and
12 Defendant CHMS' Chief Operating Officer, Bryan Tanner, along with other

13   employees from Defendant CHMS,met weekly with representatives of Defendant
14   Arba to discuss management issues. Defendant Easton is an "indirect owner" of
15   several Arba-owned facilities, including, but not limited to, Defendant Rinaldi
16 Convalescent Hospital, LLC,Defendant Ontario Healthcare Center, LLC,and

17 Defendant Casitas Care Center, LLC. The meetings between representatives for

18 Defendants CHMS and Alba are ongoing, though Defendant Easton is no longer

19   with the company. Current CHMS CEO Defendant Denning now attends these
20 i~ meetings.

21         64.    Defendants were made aware ofthe allegations in this Complaint
22 numerous times over the past two years. In 2015, Relator submitted several audit

23   reports identifying improper billing practices to numerous officials at Defendant
24 CHMS,including: Teresa DePaul, the Director of Clinical Operations, Lynn Schiff,

25   the Manager of Therapy Services, and Defendant Easton. Despite Relator's
26   attempts to bring Defendants' fraudulent practices and actions to light, nothing was
27 done to address the issues.

28
                                                    24
                                                                                       COMPLAINT

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1           65.    In March 2016, Noridian, a government Medicare Administrative
2 Contractor("MAC"), conducted an audit of Defendant Valley Palms Convalescent

3    Center, LLC. The MAC audit identified $1.9 million in Medicare overpayments for
4 fiscal year 2015-16, which was attributed to the fraudulent billing practices alleged

5    in this Complaint. Specifically, the audit noted that, ofthe 10 claims that were
6    reviewed, 7 claims were improper because "Estim minutes billed did not support
7 the skills of a therapist were needed." Additionally, Noridian identified an 80%

8    billing error rate at that facility.
9           66.    Noridian identified numerous examples of documentation by
10 Defendant SNFs that did not support the therapy minutes billed on their MDS

11   Assessments. In its claim review summary, Noridian made observations that
12 included, but are not limited to, the following:

13

14    Date          Claims Findings
15    3/18/2016 Documentation submitted did not support therapy minutes billed on
16                  MDS. It was noted 17% ofPT and 12% of OT minutes billed in the
17                  month of December consisted of estim. Estim minutes were denied
18                 for PT on DOS 12/26 and for OT on DOS 12/28.
19    3/22/2016 [O]f note, unattended estim code was documented in therapy minutes,
20                  and only attended skilled therapy minutes can be counted included on
21                  the MDS. All OT estim minutes were denied, as documentation did
22                  not support the skills of a therapist were present and/or needed.
23    3/22/2016 Documentation submitted did not support all therapy minutes billed
24                  on MDS for assessment reference dates 1/5/16 and 1/1 1/16. It was
25                  noted 13% ofPT and 12% of OT minutes billed consisted of estim.
26                  E-stim is allowed if the need for the skills of a therapist are supported
27                  in the documentation. Also of note, unattended e-stim code was
28
                                                        25
                                                                                        ~.~~~~innrn

                                FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
 1
                   documented in therapy minutes, and only attended skilled therapy
 2
                   minutes can be counted on MDS. E-stim minutes were denied for PT
 3
                   on DOS 1/3, and all OT e-stim minutes were denied as
 4
                   documentation did not support the skills of a therapist.
 5
            67.     Noridian's observations of Defendants' improper billing practices
 6
      mirrored the behaviors Relator witnessed and brought to her superiors' attention
 7
      nearly a year before the MAC audit was released.
 8
            68.    A few months later, Relator again attempted to reinforce the
 ~~
      inappropriateness of Defendants' billing practices to Defendant Easton. In an email
10
      dated June 9, 2016, Relator wrote: "I do feel we need to address the topic of
11
      `Hugging the Rugs' a new term used to describe pattern billing of minutes exactly
12
      meeting the RUGS or a 10 min or less overages. This could impact $$$ but I feel
13
      strongly we need to evaluate our process." Defendant Easton replied "ok" to her
14
      email on the same day. However, until the day Defendant Easton left his position at
15
      the company, Relator never saw him take any steps to change the fraudulent
16
      activity at any ofthe Defendants. The fraudulent practices continue to occur under
17
      Defendant Denning.
18
                   4.    Defendants Intentionally Caused Financial Harm to the
19
                          United States
20
            69.    Defendants engaged in a scheme to defraud the United States by
21
      submitting false and/or fraudulent statements and claims to the Medicare program
22
      that contained improperly inflated RUG levels and false representations regarding
23
      care being provided to SNF patients at Defendants' facilities. Each of the
24
      Defendants knew, or was deliberately ignorant or reckless in not knowing, that the
25
      claims and statements being generated by the above-described practices were false
26
      or fraudulent. Relator estimates that the financial harm to the United States due to
27
      Defendants' fraudulent actions is in excess of$337 million.
28
                                                      26
                                                                                      COMPLAINT

                              FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
 1                                                  VI.
 2                                   CLAIMS FOR RELIEF
 3   A.    First Claim for Relief: False and/or Fraudulent Claims,31 U.S.C.
 4         ~ 3729(a)(1)(A)
 5         70.    Relator incorporates paragraphs 1-69 ofthis complaint as though fully
 6 set forth herein.

 7         71.    This claim sets forth claims for treble damages and forfeitures under
 8 the FCA,31 U.S.C. §§ 3729-33, as amended.

 9         72.    Through the above-described acts and omissions, and from at least on
10 or before 2015 to the present, the Defendants knowingly caused to be presented for

11   payment and approval false and/or fraudulent claims to officers of the United States
12 Government. As a result of this illegal activity, these claims were improper

13   pursuant to 31 U.S.C. § 3729(a).
14         73.   Federal Medicare program officials, their contractors, carriers,
15   intermediaries and agents, paid and approved claims for payment for such services
16 that should not have been paid or approved.

17         74.   Federal Medicare program officials and their contractors, carriers,
18   intermediaries and agents, would not have paid the claims for services or otherwise
19 reimbursed or advanced monies to the Defendants had they known the true state of

20 affairs.

21         75.   As described in greater detail above, Defendants abused the Medicare
22 program by submitting false claims for medically unreasonable, unnecessary and

23   unskilled therapy services, and by using false records and statements to support
24 those claims.

25         76.   By reason of the above-described presentment of false and fraudulent
26 claims, Defendants have violated 31 U.S.C. § 3729(a)(1)(A) by knowingly

27 presenting, or causing to be presented, false or fraudulent claims for payment or

28   approval.
                                                     27
                                                                                    COMPLAINT

                             FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
1          77.    Because ofthe false claims made by Defendants, the United States has
2 suffered, and continues to suffer, financial damages, and is therefore entitled to a

3    recovery as provided by the FCA of an amount to be determined at trial, plus civil
4    penalties of $5,500 to $11,000 for each such claim submitted on or before
5    November 2, 2015, and $10,781 to $21,562 for each such claim submitted after
6 ~ November 2, 2015.

7          78.    By reason of the above-described presentment of false records and
8    statements, the United States has suffered significant losses in an amount to be
9 determined.
10 B.      Second Claim for Relief: False Records and Statements,31 U.S.C.
11           3729(a)(1)(B)
12         79.    Relator incorporates paragraphs 1-78 ofthis complaint as though fully
13   set forth herein.
14         80.    This claim sets forth claims for treble damages and forfeitures under
15   the FCA,31 U.S.C. §§ 3729-33, as amended.
16         81.    Through the above-described acts and omissions, and from on or
17 before at least 2015 to the present the Defendants knowingly made and used, and

18   caused to be made and used, false records and statements for the purpose of having
19 false and fraudulent claims paid and approved by Federal Medicare program

20 officials, their contractors, carriers, intermediaries and agents. As a result of this

21   illegal activity, these claims were improper in whole pursuant to 31 U.S.C.
22 § 3729(a).

23          82.   Because of the false claims made by Defendants, the United States has
24 suffered, and continues to suffer, financial damages, and is therefore entitled to a

25 recovery as provided by the FCA of an amount to be determined at trial, plus civil
26 penalties of $5,500 to $11,000 for each such claim submitted on or before

27 November 2, 2015, and $10,781 to $21,562 for each such claim submitted after

28   November 2, 2015.
                                                     28

                             FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(6)(2)
1           83.      By reason ofthe above-described presentment of false records and
2 statements, the United States has suffered significant losses in an amount to be

3      determined.
4 C.         Third Claim for Relief: Consuiracv to Defraud,31 U.S.C.
5             3729(a)(1)(C)
6            84.     Relator incorporates paragraphs 1-83 of this complaint as though fully
7 set forth herein.

8            85.     This claim sets forth claims for treble damages and forfeitures under
9 the FCA,31 U.S.C. §§ 3729-33, as amended.

10           86.     Through the above-described acts and omissions, and from on or
11 before at least 2015 to the present, the Defendants, with each other and with
12 persons known and unknown, knowingly agreed and conspired to defraud the

13 Government by having false and fraudulent claims paid and approved by Federal

14 Medicare program officials, their contractors, carriers, intermediaries and agents.
15 As a result of this illegal activity, these claims were improper pursuant to 31 U.S.C.

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17 ~         87.     Because ofthe false claims made by Defendants, the United States has
18 suffered, and continues to suffer, financial damages, and is therefore entitled to a
19 recovery as provided by the FCA of an amount to be determined at trial, plus civil

20 penalties of $5,500 to $11,000 for each such claim submitted on or before

21     November 2, 2015, and $10,781 to $21,562 for each such claim submitted after
22 November 2, 2015.

23           88.     By reason of the above-described conspiracy to defraud, the United
24 States has suffered significant losses in an amount to be determined.

25     D.    Fourth Claim for Relief: False Statements to Conceal Obligations,31
26           U.S.C.§ 3729(a)(1)(G)
27           89.     Relator incorporates paragraphs 1-88 ofthis complaint as though fully
28     set forth herein.
                                                        29
                                                                                        COMPLAINT


                                FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
1          90.   This claim sets forth claims for treble damages and forfeitures under
2 ~ the FCA,31 U.S.C. §§ 3729-33, as amended.

3          91.   Through the above-described acts and omissions, the Defendants
4 knowingly made and used, and/or caused to be made and used, false records and

5    statements in order to conceal, avoid and/or decrease the Defendants' obligations to
     pay or transmit monies or to offer certain prices to Federal Medicare programs.
           92.   By reason of the above-described, Defendants have violated 31 U.S.C.
     § 3729(a)(1)(G) by knowingly making, using, or causing to be made or used, a false
     record or statement material to an obligation to pay or transit money or property to
10 the Government, or knowingly concealing or knowingly and improperly avoidin
                                                                                      g

11   or decreasing an obligation to pay or transmit money or property to the
12 Government.

13         93.    Because of the false claims made by Defendants, the United States has
14   suffered, and continues to suffer, financial damages, and is therefore entitled to a
15 recovery as provided by the FCA of an amount to be determined at trial, plus civil
16 penalties of $5,500 to $11,000 for each such claim submitted on or before

17 November 2, 2015, and $10,781 to $21,562 for each such claim submitt
                                                                          ed after

18 November 2, 2015.

19         94.    Because of the false or fraudulent claims made by Defendants,the
20 United States has suffered, and continues to suffer damages.

21                                           PRAYER

22          WHEREFORE,Relator Jeannette Munkittrick, on behalf ofthe United
23 States, respectfully requests that this Court enter an Order:
24       a.      Determining that Defendants violated the Federal False Claims Act by
25               making false statements and records to cause false claims to be
26                submitted to the United States;
27          b.    Requiring Defendants pay an amount equal to three times the amount
28                of damages the United States has sustained because of Defendants'
                                                    30

                             FLED UNDER SEAL PURSUANT TO 3] U.S.C. § 3730(B)(2)
 1             actions, plus a civil penalty against Defendants of not less than $5,500
 2             and not more than $11,000 for each violation of 31 U.S.C. § 3729
 3             committed before November 2, 2015, and not less than $10,781 and
 4             not more than $21,562 for each violation of 31 U.S.C. § 3729
 5             committed after November 2, 2015;
 6        c.   Requiring that Defendants cease and desist from violating the Federal
 7             False Claims Act;
 8        d.   Requiring Defendants to pay all expenses, attorney's fees and costs
 9             associated with this action pursuant to 31 U.S.C. § 3730(d)(1);
10        e.   Paying Relator Jeannette Munkittrick the maximum statutory award
11             for her contributions to this prosecution of this action pursuant to 31
12             U.S.C. § 3730(d);
13        f.   Granting the Government and Relator all such other relief as the Court
14             deems reasonable, proper, and just.
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                                                  31
                                                                                   COMPLAINT

                          FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
                                DEMAND FOR JURY TRIAL
2        A jury trial is demanded for all issues.
 3

4    DATED: November 14, 2017               Respectfully submitted,

5
                                            BY /s/Ste hen G. Larson
6                                                top en .Larson BN 1 5 5
                                               Melissa A. Meister(SBN 29674 )
 7                                             Jarrad L. Wood(SBN 310688)
                                               CARSON O'BRIEN LLP
 8                                             555 S. Flower Street, Suite 4400
                                               Los Angeles, CA 90071
9                                              Tel: 213-436-4888
                                               Fax: 213-623-2000
10                                             slarson@larsonobrienlaw.com
                                                mmeister@larsonobrienlaw.com
11                                             jwood@larsonobrienlaw.com
12                                                 Attorneys for Relator
                                                   JEANNETTE MUNKITTRICK
13

14

15
     DATED: November 14, 2017               Respectfully submitted,
16                                          JAMES HOVER, P.A.
17

18                                          BY /s/Jesse L. Ho er
                                               Jesse L. Hoyer BN 7
19                                             Pro Hac Vice to be sled
                                               Elaine Stromgren( BN 417610)
20                                                Pro Hac Vice to befiled
                                                  Sean P. Keefe(SBN 413828)
21                                                Pro Hac Vice to be sled
                                                   JAMES HOVER, ,A.
22                                                2801 W. Busch Blvd. Suite 200
                                                   Tampa,FL 33618
23                                                 Tel.: 813-375-3700
                                                  Fax: 813-375-3710
24                                                jlhoyer@jameshoyer.com
                                                  estrom en@jameshoyer.com
25                                                skeefe~a~ameshoyer.com

26                                                 Attorneys for Relator
                                                   JEANNETTE MUNKITTRICK
27

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                                                  32
                                                                                  COMPLAINT

                          FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
 1                                           SERVICE
 2        Pursuant to 31 U.S.C. § 3730(b)(2), this Complaint shall not be served upon
 3 1 Defendants until the Court so orders.

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                                                                                  COMPLAINT

                            FILED UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(B)(2)
